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6               IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

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9    NORBERTO ARREDONDO,               )       No. CV-F-06-056 REC
                                       )       (No. CR-F-97-CR-5167 OWW)
10                                     )
                                       )       ORDER DISMISSING SECOND
11                    Petitioner,      )       MOTION TO VACATE, SET ASIDE
                                       )       OR CORRECT SENTENCE PURSUANT
12             vs.                     )       TO 28 U.S.C. § 2255 AND
                                       )       DIRECTING ENTRY OF JUDGMENT
13                                     )       FOR RESPONDENT
     UNITED STATES OF AMERICA,         )
14                                     )
                                       )
15                    Respondent.      )
                                       )
16                                     )

17        On January 17, 2006, petitioner Norberto Arredondo filed a

18   motion to vacate, set aside or correct sentence pursuant to 28

19   U.S.C. § 2255.   Petitioner contends that he is entitled to relief

20   because the court imposed sentencing enhancements in violation of

21   United States v. Booker, 543 U.S. 220 (2005).1

22        The court hereby dismisses petitioner’s motion.

23        On July 2, 2001, petitioner filed a Section 2255 motion

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           Although the underlying criminal action has been transferred
25   to the docket of Judge Oliver W. Wanger, petitioner’s Section 2255
     motion was assigned to this court because this court sentenced
26   petitioner.

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1    based on Apprendi v. New Jersey, 530 U.S. 466 (2000).          See

2    Arrendono v. United States, No. CV-F-01-5851 REC.         By Order filed

3    on July 5, 2001, the court denied this Section 2255 motion.

4    Therefore, the instant motion is a second or successive Section

5    2255 motion.   Petitioner must first apply to the Ninth Circuit

6    Court of Appeal for leave to file such a motion.         In the absence

7    of authorization from the Ninth Circuit, this court does not have

8    jurisdiction to hear it.     See United States v. Allen, 157 F.3d

9    661, 664 (9th Cir. 1998).

10        Petitioner, citing McClesky v. Zant, 499 U.S. 467 (1991),

11   argues that the instant motion should not be construed by this

12   court as a “second or successive” motion because his challenge to

13   his sentence under Booker is a new issue that did not exist and

14   could not have been raised at the time he filed his initial

15   Section 2255 motion.    However, even if the court assumes

16   petitioner’s position is correct, petitioner would not be

17   entitled to relief.    Booker is not retroactive to cases on

18   collateral review.    United States v. Cruz, 423 F.3d 1119 (9th

19   Cir. 2005).2

20        ACCORDINGLY:

21        1.   Petitioner Norberto Arredondo’s second motion to vacate,

22   set aside or correct sentence pursuant to 28 U.S.C. § 2255 is

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           Petitioner argues that the court should hold the instant
     motion in abeyance pending resolution by the Supreme Court of
25   Washington v. Recuenco, No. 05-83. The court denies this request.
     The issue before the Supreme Court in Recuenco does not address the
26   applicability of Booker to cases on collateral review.

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1    dismissed.

2         2.   The Clerk of the Court is directed to enter judgment for

3    respondent.

4         IT IS SO ORDERED.

5    Dated:    January 23, 2006                    /s/ Robert E. Coyle
     668554                                    UNITED STATES DISTRICT JUDGE
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